     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 1 of 13 Page ID #:1


      Joshua B. Swigart, Esq. (SBN: 225557)
 1
      josh@westcoastlitigation.com
 2    Veronica E. McKnight, Esq. (SBN: 306562)
      Hyde & Swigart
 3
      2221 Camino Del Rio South, Suite 101
 4    San Diego, CA 92108
      Telephone: (619) 233-7770
 5
      Facsimile: (619) 297-1022
 6
      [Additional Attorneys for Plaintiff on Signature Page]
 7
 8    Attorneys for Paul Garcia
 9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12
13    Paul Garcia,                                           Case No: ________________
14                            Plaintiff,                     COMPLAINT FOR DAMAGES
15    v.
                                                             1. NEGLIGENT VIOLATIONS OF
16    Ocwen Mortgage Servicing, Inc.,                           TELEPHONE CONSUMER
17    and Ocwen Loan Servicing, LLC,                            PROTECTION ACT, 47 U.S.C.
                                                                §227 ET SEQ.
18                            Defendants.                    2. INTENTIONAL VIOLATIONS OF
19                                                              TELEPHONE CONSUMER
                                                                PROTECTION ACT, 47 U.S.C.
20                                                              §227 ET SEQ.
21                                                           3. NEGLIGENCE
                                                             4. NEGLIGENCE PER SE -
22                                                              RFDCPA
23                                                           5. NEGLIGENCE PER SE - TCPA
24                                                           Jury Trial Demanded
25
26
27
28

       ______________________________________________________________________________________________________
                                                     - ! 1 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 2 of 13 Page ID #:2



 1                                             INTRODUCTION
 2    1.    The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.
 3          was designed to prevent calls like the ones described within this complaint,
 4          and to protect the privacy of citizens like Plaintiff. “Voluminous consumer
 5          complaints about abuses of telephone technology – for example,
 6          computerized calls dispatched to private homes – prompted Congress to pass
 7          the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 8    2.    In enacting the TCPA, Congress intended to give consumers a choice as to
 9          how creditors and telemarketers may call them, and made specific findings
10          that “[t]echnologies that might allow consumers to avoid receiving such calls
11          are not universally available, are costly, are unlikely to be enforced, or place
12          an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.
13    3.    Toward this end, Congress found that:
14
                  [b]anning such automated or prerecorded telephone calls to the
15                home, except when the receiving party consents to receiving the
                  call or when such calls are necessary in an emergency situation
16
                  affecting the health and safety of the consumer, is the only
17                effective means of protecting telephone consumers from this
                  nuisance and privacy invasion.
18
19                Id. at § 12; see also Martin v. Leading Edge Recovery Solutions,
                  LLC, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing
20
                  Congressional findings on TCPA’s purpose).
21
      4.    Congress also specifically found that “the evidence presented to Congress
22
            indicates that automated or prerecorded calls are a nuisance and an invasion
23
            of privacy, regardless of the time of call….” Id. at §§ 12-13. See also, Mims,
24
            132 S. Ct. at 744.
25
      5.    Plaintiff Paul Garcia (“Plaintiff”), by Plaintiff’s attorneys, bring this action to
26
            challenge the conduct of Ocwen Mortgage Servicing, Inc. (“OMS”), and
27
            Ocwen Loan Servicing, LLC (“OLS”) (collectively “Ocwen” or
28
            “Defendants”), with regard to attempts by defendant to unlawfully and

       ______________________________________________________________________________________________________
                                                     - ! 2 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 3 of 13 Page ID #:3



 1          abusively collect a debt allegedly owed by Plaintiff. Further, Plaintiff bring
 2          this action for damages and any other available legal or equitable remedies
 3          resulting from the actions of Defendants in their negligent and/or willful
 4          violations of the TCPA.
 5    6.    While many violations are described below with specificity, this Complaint
 6          alleges violations of the statutes cited in their entirety.
 7    7.    The statute of limitations is tolled due to the commencement of a class action
 8          based on same or similar allegations filed against Defendant on October 27,
 9          2014 in the Northern District of Illinois, Case Number 1:14-cv-08461.
10          America Pipe & Construction Co v. State of Utah, 414 U.S. 538.
11    8.    Plaintiff makes these allegations on information and belief, with the exception
12          of those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
13          Plaintiff alleges on personal knowledge.
14    9.    While many violations are described below with specificity, this Complaint
15          alleges violations of the statutes cited in their entirety.
16    10.   Any violations by Defendants were knowing, willful, and intentional, and
17          Defendant did not maintain procedures reasonably adapted to avoid any such
18          violation.
19
20
21                                      JURISDICTION AND VENUE
22    11.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1332, and 28 U.S.C. §
23          1367 for supplemental state claims.
24    12.   This action arises out of Defendants’ violations of federal law. 47 U.S.C. §
25          227(b); Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740 (2012).
26    13.   Because Defendants conduct business within the State of California, personal
27          jurisdiction is established.
28

       ______________________________________________________________________________________________________
                                                     - ! 3 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 4 of 13 Page ID #:4



 1    14.   Venue is proper pursuant to 28 U.S.C. § 1391 because Defendant conducted
 2          business within the State of California and Plaintiff is located within this
 3          district.
 4                                                  PARTIES
 5    15.   Plaintiff is a natural person who resides in the City of Whittier, State of
 6          California.
 7    16.   Defendant Ocwen Mortgage Servicing, Inc. has its principal place of business
 8          in Frederiksted, St. Croix in the U.S. Virgin Islands.
 9    17.   Defendant Ocwen Loan Servicing, LLC has its principal place of business in
10          the City of West Palm Beach, in the State of Florida.
11    18.   Defendant OMS is, and at all times mentioned herein was, a corporationsand
12          “person,” as defined by 47 U.S.C. § 153 (39).
13    19.   Defendant OLS is, and at all times mentioned herein was, a limited liability
14          company and a “person,” as defined by 47 U.S.C. § 153 (39).
15                                        FACTUAL ALLEGATIONS
16    20.   Plaintiff is alleged to have incurred certain financial obligations to Defendants
17          related for a mortgage for Plaintiff’s primary residence.
18    21.   Between January 4, 2010 through April 16, 2016, Defendant called Plaintiff
19          on Plaintiff’s cellular telephone number ending in 7225 via an “automatic
20          telephone dialing system” (“ATDS”), as defined by 47 U.S.C. § 227(a)(1),
21          using an “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)
22          (1)(A).
23    22.   This ATDS has the capacity to store or produce telephone numbers to be
24          called, using a random or sequential number generator.
25    23.   When Plaintiff would answer the calls from Defendants, there would often be
26          a silence, sometimes with a click or a beep-tone, before an Ocwen
27          representative would pick up and start speaking.
28

       ______________________________________________________________________________________________________
                                                     - ! 4 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 5 of 13 Page ID #:5



 1    24.   Sometimes, Plaintiff would receive calls from Defendants in which the caller
 2          was a recorded voice or message, rather than a live representative.
 3    25.   In total, Plaintiff has received at least 1,654 calls from Defendant on
 4          Plaintiff’s cellular telephone.
 5    26.   For example, Plaintiff was called every single day from February 1, 2013
 6          through February 25, 2013, for a total of 53 calls. Plaintiff was also called
 7          after 9 pm on December 11, 2015.
 8    27.   Plaintiff did not provide express consent to Defendant to receive calls on
 9          Plaintiff’s cellular telephone, pursuant to 47 U.S.C. § 227 (b)(1)(A).
10    28.   Further, Plaintiff clearly revoked any type of prior express consent, if prior
11          express consent ever existed, by stating that Plaintiff no longer wished to be
12          contacted by phone.
13    29.   Plaintiff answered several of the above mentioned autodialed telephone calls
14          from Defendants and asked Defendants to stop calling. Despite this clear and
15          unmistakable request, the calls continued without interruption. Each of these
16          requests terminated any express or implied consent that Defendants may have
17          had prior to beginning its campaign of harassment by telephone.
18    30.   Plaintiff answered several of the above mentioned autodialed telephone calls
19          from Defendant and asked Defendant to stop calling. Despite this clear and
20          unmistakable request, the calls continued without interruption. Each of these
21          requests terminated any express or implied consent that Defendant may have
22          had prior to beginning its campaign of harassment by telephone.
23    31.   Each of these calls was an attempt to collect on a consumer debt allegedly due
24          and owing by Plaintiff.
25    32.   The calls by Defendant to Plaintiff’s cell phone continued, even after
26          Plaintiff’s oral revocation.
27    33.   These calls were made by Defendants or Defendants’ agent, with Defendants’
28          permission, knowledge, control, and for Defendants’ benefit.

       ______________________________________________________________________________________________________
                                                     - ! 5 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 6 of 13 Page ID #:6



 1    34.   As a result, the telephone calls by Defendants, or its agent(s), violated 47
 2          U.S.C. § 227(b)(1).
 3    35.   Through Defendant’s actions, Plaintiff suffered an invasion of a legally
 4          protected interest in privacy, which is specifically addressed and protected by
 5          the TCPA.
 6    36.   Plaintiff was personally affected, becoming frustrated and distressed that,
 7          despite telling Defendants to stop calling Plaintiff’s cellular phone,
 8          Defendants continued to harass Plaintiff with collection calls using an ATDS.
 9    37.   The unrelenting, repetitive calls disrupted Plaintiff’s daily activities and the
10          peaceful enjoyment of Plaintiff’s personal and professional life, including the
11          ability to use Plaintiff’s phone.
12    38.   The calls placed by Defendant to Plaintiff were extremely intrusive, including
13          Plaintiff’s relationships with close family members. Specifically, Plaintiff
14          began to ignore or send to voicemail many incoming calls from unknown
15          numbers, out of frustration in dealing with Defendants’ unwanted and
16          intrusive calls. In doing so, Plaintiff missed important communications from
17          friends and family.
18                                               STANDING

19    39.   Standing is proper under Article III of the Constitution of the United States of
20          America because Plaintiff’s claims state:
21               a. a valid injury in fact;
22               b. which is traceable to the conduct of Defendant;
23               c. and is likely to be redressed by a favorable judicial decision.
24           See, Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) at 6, and                            Lujan v.
25           Defenders of Wildlife, 504 U.S. 555 at 560.
26    40.   In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must
27          clearly allege facts demonstrating all three prongs above.
28

       ______________________________________________________________________________________________________
                                                     - ! 6 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 7 of 13 Page ID #:7



 1          A. The “Injury in Fact” Prong
 2    41.        Plaintiff’s injury in fact must be both “concrete” and “particularized” in order
 3               to satisfy the requirements of Article III of the Constitution, as laid out in
 4               Spokeo (Id.).
 5    42.        For an injury to be “concrete” it must be a de facto injury, meaning that it
 6               actually exists. In the present case, Plaintiff was called on Plaintiff’s cellular
 7               phone by Defendant. Such calls are a nuisance, an invasion of privacy, and an
 8               expense to Plaintiff. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
 9               638 (7th Cir. 2012). All three of these injuries are concrete and de facto.
10    43.        For an injury to be “particularized” means that the injury must “affect the
11               plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S.
12               ___ (2016) at 7.     It was plaintiff’s personal privacy and peace that was
13               invaded by Defendant’s persistent phone calls using an ATDS.
14
15          B.      The “Traceable to the Conduct of Defendant” Prong
16    44.        The second prong required to establish standing at the pleadings phase is that
17               Plaintiff must allege facts to show that Plaintiff’s injury is traceable to the
18               conduct of Defendant(s).
19    45.        In the instant case, this prong is met simply by the fact that the calls to
20               plaintiff’s cellular phone were placed either, by Defendant directly, or by
21               Defendant’s agent at the direction of Defendant.
22
23          C. The “Injury is Likely to be Redressed by a Favorable Judicial Opinion”

24                Prong
      46.        The third prong to establish standing at the pleadings phase requires Plaintiff
25
                 to allege facts to show that the injury is likely to be redressed by a favorable
26
                 judicial opinion.
27
28

       ______________________________________________________________________________________________________
                                                     - ! 7 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 8 of 13 Page ID #:8



 1    47.   In the present case, Plaintiff’s Prayers for Relief include a request for
 2          damages for each call made by Defendant, as authorized by statute in 47
 3          U.S.C. § 227. The statutory damages were set by Congress and specifically
 4          redress the financial damages suffered by Plaintiff.
 5    48.   Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to restrain
 6          Defendant from the alleged abusive practices in the future. The award of
 7          monetary damages and the order for injunctive relief redress the injuries of
 8          the past, and prevent further injury in the future.
 9    49.   Because all standing requirements of Article III of the U.S. Constitution have
10          been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016), Plaintiff
11          has standing to sue Defendant on the stated claims.
12
13                                                  COUNT I
14                                  NEGLIGENT VIOLATIONS OF THE
15                      TELEPHONE CONSUMER PROTECTION ACT (TCPA)
16                                               47 U.S.C. 227
17    50.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
18          paragraphs.
19    51.   The foregoing acts and omissions constitute numerous and multiple violations
20          of the TCPA, including but not limited to each and every one of the above-
21          cited provisions of the TCPA, 47 U.S.C. 227 et. seq.
22    52.   As a result of Defendant's negligent violations of 47 U.S.C. § 227 et seq,
23          Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
24          every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
25
26                                                 COUNT II
27                               KNOWING AND/OR WILLFUL OF THE
28                      TELEPHONE CONSUMER PROTECTION ACT (TCPA)

       ______________________________________________________________________________________________________
                                                     - ! 8 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 9 of 13 Page ID #:9



 1                                               47 U.S.C. 227
 2    53.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
 3          paragraphs.
 4    54.   The foregoing acts and omissions of Defendant constitute numerous and
 5          multiple knowing and/or willful violations of the TCPA, including but not
 6          limited to each and every one of the above-cited provisions of 47 U.S.C. §
 7          227 et seq.
 8    55.   As a result of Defendant's knowing and/or willful violations of 47 U.S.C. §
 9          227 et seq., Plaintiff is entitled to treble damages, as provided by statute, up to
10          $1,500.00, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B)
11          and 47 U.S.C. § 227(b)(3)(C).
12
13                                                 COUNT III
14                                               NEGLIGENCE
15    56.   Plaintiff incorporates by reference all of the above paragraphs of this
16          Complaint as though fully stated herein.
17    57.   Defendants had a duty to use care to not infringe on consumers’ privacy rights
18          when collecting on alleged debts and not calling Plaintiffs hundreds and/or
19          thousands of times to harass and/or abuse Plaintiffs.
20    58.   Defendants breached that duty by calling Plaintiff on Plaintiff’ cellular
21          telephones a voluminous number of times, as discussed above, and continued
22          to call despite Plaintiff’s request that the calls stop.
23    59.   Plaintiff was harmed and suffered injury as described above.
24    60.   The negligence of Defendants was a substantial and proximate factor in
25          causing Plaintiff this harm and injury described above.
26    61.   As said conduct was carried out by Defendants in an oppressive, malicious,
27          despicable, gross and wontonly negligent manner, said conduct demonstrates
28          Defendants’ conscious disregard for the rights and safety of Plaintiff or their

       ______________________________________________________________________________________________________
                                                     - ! 9 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 10 of 13 Page ID #:10



 1           family. As such Plaintiff is entitled to recover punitive damages from
 2           Defendants in an amount according to proof at trial.
 3
 4                                                  COUNT IV
 5      NEGLIGENCE PER SE - ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
 6     62.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
 7           paragraphs.
 8     63.   The Rosenthal Fair Debt Collection Practices Act ensures that debt collectors
 9           exercise this responsibility with fairness, honesty and due regard for the
10           debtor’s rights and that debt collectors must be prohibited from engaging in
11           unfair or deceptive acts or practices. This act is codified under California
12           Civil Code § 1788-1788.32.
13     64.   Defendants called Plaintiff with regard to alleged obligations related to
14           money, property, or their equivalent, which is due or owing, or alleged to be
15           due or owing, from a natural person to another person and are therefore a
16           “debt” as that term is defined by California Civil Code § 1788.2(d), and a
17           “consumer debt” as that term is defined by California Civil Code §1788.2(f).
18     65.   Plaintiff is a natural person from whom a debt collector sought to collect a
19           consumer debt which was due and owing or alleged to be due and owing from
20           Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
21           1788.2(h).
22     66.   Thus, Plaintiff is within the protective class which the Rosenthal Fair Debt
23           Collection Practices Act is designed to protect.
24     67.   Through this conduct described above, Defendants caused Plaintiff’s phone to
25           ring repeatedly or continuously to annoy the person called, in violation of
26           California Civil Code §1788.11(d).
27     68.   Through this conduct described above, Defendants communicated, by
28           telephone or in person, with the debtor with such frequency as to be

        ______________________________________________________________________________________________________
                                                      - !10 of ! 13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 11 of 13 Page ID #:11



 1           unreasonable and to constitute an harassment under the circumstances, in
 2           violation of California Civil Code §1788.11(e).
 3     69.   Defendants breached its duty through their violations of the RFDCPA by
 4           calling Plaintiff on Plaintiff’ cellular telephones a voluminous number of
 5           times, as discussed above, and continued to call despite Plaintiff’s request that
 6           the calls stop.
 7     70.   Plaintiff was harmed and suffered injury as described above.
 8     71.   The negligence of Defendants was a substantial and proximate factor in
 9           causing Plaintiff this harm and injury described above.
10     72.   As said conduct was carried out by Defendants in an oppressive, malicious,
11           despicable, gross and wontonly negligent manner, said conduct demonstrates
12           Defendants’ conscious disregard for the rights and safety of Plaintiff or their
13           family. As such Plaintiff is entitled to recover punitive damages from
14           Defendants in an amount according to proof at trial.
15                                                  COUNT V
16              NEGLIGENCE PER SE - TELEPHONE CONSUMER PROTECTION ACT
17     73.   Plaintiff incorporates by reference all of the above paragraphs of this
18           Complaint as though fully stated herein.
19     74.   The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.
20           was designed to prevent calls like the ones described within this complaint,
21           and to protect the privacy of citizens like Plaintiff.
22     75.   Thus, Plaintiff is within the protective class which the TCPA is designed to
23           protect.
24     76.   As described above, Defendants breached their duty when they violated the
25           TCPA.
26     77.   Defendants’ violation of the TCPA was a substantial and proximate factor in
27           causing Plaintiff this harm and injury described above.
28

        ______________________________________________________________________________________________________
                                                      - ! 11 of !13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 12 of 13 Page ID #:12



 1     78.   As said conduct was carried out by Defendants in an oppressive, malicious,
 2           despicable, gross and wontonly negligent manner, said conduct demonstrates
 3           Defendants’ conscious disregard for the rights and safety of Plaintiff or their
 4           family. As such Plaintiff is entitled to recover punitive damages from
 5           Defendants in an amount according to proof at trial.
 6
 7
 8                                           PRAYER FOR RELIEF
 9     WHEREFORE, Plaintiff prays that judgment be entered against Defendants, and
10     Plaintiff be awarded damages from Defendants, as follows:
11           •      Statutory damages of $500.00 for each negligent violation of the TCPA
12                  pursuant to 47 U.S.C. § 227(b)(3)(B);
13           •      Statutory damages of $1,500.00 for each knowing and/or willful
14                  violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
15                  U.S.C. § 227(b)(3)(C).
16           •      Pursuant to 47 U.S.C § 227(b)(3)(A), injunctive relief prohibiting such
17                  conduct in the future;
18           •      Special, general, compensatory, and punitive damages; and
19           •      Any and all other relief that this Court deems just and proper.
20     79.   Pursuant to the seventh amendment to the Constitution of the United States of
21           America, Plaintiff is entitled to, and demands, a trial by jury.
22
23     Respectfully submitted,
                                                                  Hyde & Swigart
24
25
       Date: May 10, 2017                                         By:/s/ Joshua B. Swigart
26
                                                                    Joshua Swigart
27                                                                  Attorneys for Plaintiff
28

        ______________________________________________________________________________________________________
                                                      - !12 of ! 13 -
     Case 2:17-cv-03514-R-SK Document 1 Filed 05/10/17 Page 13 of 13 Page ID #:13


       Abbas Kazerounian, Esq.
 1
       California Bar No.: 249203
 2     KAZEROUNI LAW GROUP, APC
       245 Fischer Avenue, Unit D1
 3
       Costa Mesa, CA 92626
 4     Phone: (800) 400-6808
       FAX: (800) 520-5523
 5
       ak@kazlg.com
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

        ______________________________________________________________________________________________________
                                                      - !13 of ! 13 -
